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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII


  A. B., et al.,                                  CIV. NO. 18-00477 LEK-RT
                       Plaintiffs,

         vs.                                      ORDER GRANTING PLAINTIFFS'
                                                  MOTION FOR LEAVE TO FILE
  HAWAII STATE DEPARTMENT OF                      FIRST AMENDED COMPLAINT
  EDUCATION, et al.,

                       Defendants.



                       ORDER GRANTING PLAINTIFFS' MOTION
                   FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        Plaintiffs A.B., by her parents and next friends, C.B. and D.B., and T.T., by

  her parents and next friends, K.T. and S.T.’s (collectively “Plaintiffs”) Motion for

  Leave to File First Amended Complaint, filed on May 16, 2019 (ECF No. 69)

  (“Motion”), came on for hearing on Wednesday, June 19, 2019 before the

  Honorable Rom A. Trader, Judge of the above-entitled court, with Kim Turner,

  Esq. (appearing by telephone), Mateo Caballero, Esq., and Jongwook Kim, Esq.,

  appearing on behalf of Plaintiffs; John Cregor Jr., Esq. appearing on behalf of

  Defendant Hawaii State Department of Education; and Lauren Nakamura, Esq.

  appearing on behalf of Defendant Oahu Interscholastic Association.

        Upon careful review of the Motion, memoranda, the files and records, and

  the hearing on June 19, 2019, the Court finds that none of the factors “commonly

  used to determine the propriety of a motion for leave to amend” under Rule 15(a)
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  of the Federal Rules of Civil Procedure—i.e., “bad faith, undue delay, prejudice to

  the opposing party, and futility of amendment”—are present. DCD Programs,

  Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987); see also Foman v. Davis, 371

  U.S. 178, 182 (1962) (“In the absence of any apparent or declared reason—such

  as undue delay, bad faith or dilatory motive on the part of the movant, repeated

  failure to cure deficiencies by amendments previously allowed, undue prejudice

  to the opposing party by virtue of allowance of the amendment, futility of

  amendment, etc.—leave . . . should, as the rules require, be ‘freely given.’”).

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion

  is GRANTED as follows:

     1. Plaintiffs shall file their First Amended Complaint by Wednesday,

        June 26, 2019.

     2. Defendant Hawaii State Department of Education and Defendant

        Oahu Interscholastic Association (collectively “Defendants) shall file

        their Answers or other responsive pleadings to the First Amended

        Complaint by Wednesday, July 24, 2019.

     3. Plaintiffs’ right to object on any grounds, other than timeliness, to

        Defendants’ Answers or other responsive pleadings to the First

        Amended Complaint are preserved.




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         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, June 20, 2019.




                                                 /s/ Rom A. Trader
                                                 Rom A. Trader
                                                 United States Magistrate Judge




  ________________________________________________________________
  A.B., et al. v. Hawaii State Department of Education, et al.; Civ. No. 18-00477 LEK-RT; Order
  Granting Plaintiffs’ Motion for Leave to File First Amended Complaint




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